101 F.3d 696
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.UNITED STATES of America, Plaintiff-Appellee,v.James Edward LITMAN, Claimant-Appellant,and1983 BMW 528I, VIN WBADK7302D7956669, Defendant.
    No. 96-1677.
    United States Court of Appeals, Fourth Circuit.
    Submitted Nov. 7, 1996.Decided Nov. 18, 1996.
    
      Before RUSSELL and WIDENER, Circuit Judges, and PHILLIPS, Senior Circuit Judge.
      James Edward Litman, Appellant Pro Se.  Robert Eugene Sims, OFFICE OF THE UNITED STATES ATTORNEY, Baltimore, Maryland, for Appellee.
      D.Md.
      AFFIRMED.
      PER CURIAM:
    
    
      1
      Appellant appeals the district court's order denying his motion for return of forfeited property.  We have reviewed the record and the district court's opinion and find no reversible error.  Accordingly, we affirm on the reasoning of the district court.   United States v. Litman, No. CA-89-1274-JFM (D.Md. Apr. 19, 1996).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    AFFIRMED
    